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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION

Richard Kadrey, Sarah Silverman, Christopher       Case No. 3:23-cv-03417-VC
Golden, Michael Chabon, Ta-Nehisi Coates, Junot
Díaz, Andrew Sean Greer, David Henry Hwang,        JOINT ADMINISTRATIVE MOTION TO
Matthew Klam, Laura Lippman, Rachel Louise         FILE DOCUMENT UNDER SEAL
Snyder, Ayelet Waldman, and Jacqueline Woodson,
       Individual and Representative Plaintiffs,
       v.
Meta Platforms, Inc., a Delaware corporation;
                                    Defendant.




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                                        I.         INTRODUCTION

          Pursuant to Civil Local Rules 7-11 and 79-5, Plaintiffs and Meta Platforms, Inc. (“Meta”)

hereby jointly move the Court to seal narrow portions of Plaintiffs’ First Consolidated Amended

Complaint (“FCAC”). Meta contends the portions sought to be filed under seal contain information

that appear to reveal attorney-client privilege communications by a person unauthorized to do so.

Accompanying this Motion is a proposed order and a redacted version of the FCAC for the public

record.

                                             II.    ARGUMENT

          In the Ninth Circuit, when a party seeks to seal portions of a complaint, the compelling reasons

standard is typically used. See, e.g., In re NVIDIA Corp. Derivative Litig., C 06-06110 SBA, 2008 WL

1859067, at *3 (N.D. Cal. Apr. 23, 2008); Ojmar US, LLC v. Sec. People, Inc., No. 16-CV-04948-

HSG, 2016 WL 6091543, at *2 (N.D. Cal. Oct. 19, 2016); see also In re ZF-TRW Airbag Control Units

Prod. Liab. Litig., No. ML1902905JAKFFMX, 2020 WL 13688234, at *3 (C.D. Cal. Sept. 7, 2020)

(“Although the Ninth Circuit appears not to have explicitly stated what standard applies to the sealing

of a complaint, many courts in this district and elsewhere have found that the compelling reasons

standard applies.”). This is because complaint is “the root, the foundation, the basis by which a suit

arises and must be disposed of.” NVIDIA Corp. Derivative Litig., 2008 WL 1859067, at *3.

          Compelling reasons “outweigh the public’s interest in disclosure and justify sealing court

records . . . when such ‘court files might have become a vehicle for improper purposes,’ such as the

use of records to gratify private spite, promote public scandal, circulate libelous statements, or release

trade secrets . . . .” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006) (citing

Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). The party seeking to seal bears the

burden of showing compelling reasons apply. See id. at 1178.

          Here, Meta contends that several passages in the First Consolidated Amended Complaint (ECF


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No. 64) should be filed under seal because it asserts the identified portions contain unauthorized

disclosure of information protected by the attorney-client privilege. Plaintiffs disagree and reserve all

rights, including the right to challenge the privilege and any waiver. Plaintiffs, however, consent to the

maintenance of the FCAC under seal in redacted form until the the Parties are able to fully discuss and

resolve their dispute over the issue. The Parties therefore submit this motion in accordance with Local

Rule 79-5 to protect the information in the meantime.

                                        III.    CONCLUSION

       The Parties request that the Paragraphs 55, 57, 60-63 of the FCAC be filed under seal. A

redacted FCAC showing the narrowly-tailored portions that the Parties request be redacted from public

view is filed herewith.



Dated: December 22, 2023                         By:          /s/ Joseph R. Saveri
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                                     FILER’S ATTESTATION

       Pursuant to Civil Local Rule 5-1(h)(3), I attest under penalty of perjury that concurrence in the

filing of the foregoing document has been obtained from all other signatories to this document.

Dated: December 22, 2023                        By:         /s/ Joseph R. Saveri
                                                            Joseph R. Saveri




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